                                Case 1:21-cv-00947-CLM Document 1 Filed 07/13/21 Page 1 of 25                                   FILED
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                                                                                                                       U.S. DISTRICT COURT
                                                                                                                           N.D. OF ALABAMA




    Pro Sc 14 (Rev. 09/161 Complaint for Violation of Civil Rights (Prisoner)



                                           UNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF ALABAMA
                                                                                      )
                                                                                      )
                                Plaintiff                                             )
    (Write your full name. No more than one plaintiffmay be named in
    a complaint.)
                                                                                      )              1:21-cv-947-CLM
                                                                                      )
                                             -v-                                      )    caseNo.
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                Defendant{s)
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    (Write the full name of each defendant who is being sued. lfthe eh;.. }J
    names of all of the defendants cannot fit in the space above, please   )
    write "see attached" in the space and attach an additional page        )
    with the full list ofnames. Do not include addresses here. Your        )
    complaint may be brought in this court only ifone or more ofthe        )
    named defendants is located within this district.)


                                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                            (Prisoner Complaint)



                                                                                NOTICE
     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
     electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
     securit'f number or full birt.11 date; the fu!! name cf a person known to be a minor; or a complete finanda!
     account number. A filing may include only: the last four digits of a SO(?ial security number; the year of an
     individual's birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee of $400.00 or an Application to
     Proceed In Forma Pauperis.

      Mail the original complaint and the filing fee of $400.00 or an Application to Proceed In Forma Pauperis to the
      Clerk of the United States District Court for the Northern District of Alabama, Room 140, Hugo L. Black U.S.
      Courthouse, 1729 5th Avenue North, Birmingham, Alabama 35203-2195.
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